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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                   Indianapolis Division


JONATHAN R. BLAND,                    )
          Plaintiff,                  )
                                      )
      v.                              ) Cause No. 1:17-CV-03146-JMS-DML
                                      )
EXPERIAN INFORMATION SOLUTIONS, INC., )
and SHEFFIELD FINANCIAL CORPORATION, )
           Defendants.                )


                                  NOTICE OF SETTLEMENT

       Plaintiff, Jonathan R. Bland, by counsel, hereby notifies the Court that the Plaintiff and the

Defendant, Sheffield Financial Corporation ONLY, have reached a settlement in this matter and

are attempting to finalize the language of a written Settlement Agreement, and anticipate filing the

appropriate dismissal documents with the Court within sixty (60) days.


                                               Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

       The undersigned certifies that a true copy of the foregoing was filed electronically and
served on all ECF registered counsel by operation of the Court’s electronic filing this 2nd day of
November 2017, as follows:

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